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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
AMERICAN WELL CORPORATION,           )
                                     )
            Plaintiff,               )
                                     )
                                     )  Civil Action No. 24-CV-10226-AK
v.                                   )
                                     )
INDEGENE LIMITED,                    )
                                     )
            Defendant.               )
                                     )

      MEMORANDUM AND ORDER ON DEFENDANT’S MOTION TO DISMISS
             FOR LACK OF PERSONAL JURISDICTION AND
                INSUFFICIENT SERVICE OF PROCESS

ANGEL KELLEY, D.J.

       Plaintiff American Well Corporation (“Amwell”), a Boston-based company that offers

software and application platforms, brings this action against Defendant Indegene Limited, an

India-based company. Plaintiff alleges that Defendant breached a contract it had with it when

Defendant failed to pay an annual subscription fee for the configuration and development of a

medical adherence program. Defendant moves to dismiss this action, pursuant to Federal Rule of

Civil Procedure 12(b), for lack of personal jurisdiction and insufficient service of process. [Dkt.

10]. For the following reasons, Defendant’s motion [10] is GRANTED.

       I.      BACKGROUND

       Amwell is a privately held Delaware corporation with its corporate headquarters and

principal place of business in Massachusetts. [Dkt. 1 at ¶ 1]. Amwell develops and maintains

software and application platforms for the provision of telehealth services. [Id. at ¶ 6].

Amwell’s subsidiaries include Conversa Health LLC (“Conversa”). [Id. at ¶ 7]. Conversa is a



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company that provides automated virtual healthcare services and is incorporated in Delaware.

[Dkt. 26 at 10]. Conversa was previously headquartered in Oregon, but Plaintiff states that

Conversa’s principal place of business was moved to Boston after it was acquired by the

Plaintiff. [Dkt. 20 at 17].1

         Indegene Limited is an Indian company with its principal place of business in Bengaluru,

India. [Dkt. 1 at ¶ 2]. Indegene Limited offers research and development and management

services to healthcare and pharmaceutical companies. [Id. at ¶ 8]. Defendant does not and has

never had any offices, employees, property, or agents in Massachusetts, nor are they licensed to

do business in the Commonwealth. [Dkt. 12 at ¶¶ 4-14]. Defendant does not actively solicit

customers in Massachusetts. [Id. at ¶ 13].

         On or about December 23, 2021, Indegene Limited and Amwell, on behalf of itself and

its subsidiaries, including Conversa, entered into a Partner Agreement (the “Partner

Agreement”). According to the Partner Agreement, Indegene Limited could offer its customers a

license to use a variety of Conversa consulting, support, and ancillary services. [Dkt. 1 at ¶¶ 9,

12]. The Partner Agreement also appointed a non-exclusive, non-transferable license and right

to use, market, resell and distribute the Conversa services in the United States. [Id. at ¶ 11].

         On or about December 23, 2021, the parties also entered into Service Order #1 as part of

the Partner Agreement. [Id. at ¶ 13]. The subscription term of Service Order #1 was for 12

months with a start date of December 23, 2021 and an annual subscription fee of $250,000. [Id.

at ¶ 14]. According to Service Order #1, 50% of the annual subscription fee was payable on

March 1, 2022, and the remaining 50% of the fee was payable on July 1, 2022. [Id. at ¶ 15]. Per




1
 Under the prima facie standard, the Court gives credence to plaintiff’s version of genuinely contested facts. See
Baskin-Robbins Franchising LLC v. Alpenrose Dairy, Inc., 825 F.3d 28, 34 (1st Cir. 2016).

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the Partner Agreement, Defendant was required to pay all fees within 30 days following their

receipt of an electronically submitted invoice. [Id. at ¶ 16].

       On or about July 12, 2023, Defendant’s Global General Counsel and Chief Compliance

Officer Karthik Kannappan informed Plaintiff that they would not complete payment of the two

invoices for the annual subscription fees. [Id. at ¶ 21]. On or about November 13, 2023,

Plaintiff’s Senior Vice President and General Counsel Bradford Gay advised Defendant that the

Partner Agreement would terminate on December 14, 2023 because of Defendant’s failure to pay

the subscription fees. [Id. at ¶ 22]. No payments have been made to Plaintiff. [Id. at ¶ 23]. No

Conversa services or products were rendered to Defendant. [Id. at 13-14].

       On January 29, 2024, Amwell filed the complaint at issue against Indegene Limited

seeking damages of no less than $250,000 for Defendant’s alleged breach of contract. [Id.].

Defendant moved to dismiss the complaint for lack of personal jurisdiction pursuant to Federal

Rule of Civil Procedure 12(b)(2) and insufficient service of process under Federal Rule of Civil

Procedure 12(b)(5). [Dkt. 10].

       II.     LEGAL STANDARD

               A. Personal Jurisdiction

       When personal jurisdiction is contested, the plaintiff has the “ultimate burden of showing

by a preponderance of the evidence that jurisdiction exists.” Vapotherm, Inc. v. Santiago, 38

F.4th 252, 257 (1st Cir. 2022) (quoting Adams v. Adams, 601 F.3d 1, 4 (1st Cir. 2010)). When

the Court assesses its jurisdiction without an evidentiary hearing, the prima facie standard

applies. Daynard v. Ness, Motley, Loadholt, Richardson & Poole, P.A., 290 F.3d 42, 51 (1st Cir.

2002). Under the standard, the plaintiff should “proffer evidence which, taken at face value,

suffices to show all facts essential to personal jurisdiction.” Baskin-Robbins Franchising LLC v.



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Alpenrose Dairy, Inc., 825 F.3d 28, 34 (1st Cir. 2016). The Court reviews the pleadings,

supplemental filings in the record, and undisputed facts provided by the defendant, giving

credence to plaintiff’s version of genuinely contested facts. Id. While the plaintiff’s burden of

proof is “light,” it nevertheless requires them not to rely on “mere allegations” alone but to point

to specific facts in the record that support their claims. Jet Wine & Spirits, Inc. v. Bacardi &

Co., 298 F.3d 1, 8 (1st Cir. 2002) (citing Daynard, 290 F.3d at 51). The Court “‘must accept the

plaintiff’s (properly documented) evidentiary proffers as true’ . . . irrespective of whether the

defendant disputes them” for the purposes of the motion. Adelson v. Hananel, 510 F.3d 43, 48

(1st Cir. 2007) (quoting Foster-Miller, Inc. v. Babcock & Wilcox Can., 46 F.3d 138, 145 (1st

Cir. 1995)). The Court is to view these facts in the light most favorable to the plaintiff’s

jurisdictional claim. Mass. Sch. of Law v. ABA, 142 F.3d 26, 34 (1st Cir. 1998). The defendant

may also offer evidence, but the evidentiary proffers of the defendant “become part of the mix

only to the extent that they are uncontradicted.” Adelson, 510 F.3d at 48 (citing Mass. Sch. of

Law, 142 F.3d at 34); see Baskin-Robbins, 825 F.3d at 34 (“We may, of course, take into

account undisputed facts put forth by the defendant.”).

               B. Service

       When the sufficiency of process is challenged under Federal Rule of Civil Procedure

12(b)(5), plaintiff bears “the burden of proving proper service.” Rivera-Lopez v. Municipality of

Dorado, 979 F.2d 885, 887 (1st Cir. 1992). Federal Rule of Civil Procedure 4 (“Rule 4”) sets

forth the acceptable methods by which service of process can be effectuated. It permits service

upon a foreign corporation in various ways including “by any internationally agreed means of

service that is reasonably calculated to give notice, such as those authorized by the Hague

Convention.” Fed. R. Civ. P. 4(f)(1). The Court may dismiss a complaint for insufficient service



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of process. Evans v. Staples, Inc., 375 F. Supp. 3d 117, 120 (D. Mass. 2019). However, it also

“has broad discretion to either dismiss a complaint” or in instances when “there exists a

reasonable prospect that service may yet be obtained” to “quash service of process.” Cutler

Assocs. v. Palace Constr., LLC, 132 F. Supp. 3d 191, 194 (D. Mass. 2015) (quoting DiDonato v.

Mosher, 1996 Mass. App. Div. 135, 136 (Mass. App. 1996)).

       III.    Discussion

               A. Personal Jurisdiction
       When determining whether a nonresident defendant is subject to its jurisdiction, “a

federal court exercising diversity jurisdiction is the functional equivalent of a state court sitting

in the forum state.” Sawtelle v. Farrell, 70 F.3d 1381, 1387 (1st Cir. 1995) (internal quotes

omitted). As such, in a diversity case like this one, Plaintiff “must satisfy both the forum state’s

long-arm statute and the Due Process Clause of the Fourteenth Amendment.” C.W. Downer &

Co. v. Bioriginal Food & Sci. Corp., 771 F.3d 59, 65 (1st Cir. 2014) (quoting Ticketmaster-New

York, Inc. v. Alioto, 26 F.3d 201, 204 (1st Cir. 1994)). While this Circuit has sometimes treated

Massachusetts’ long-arm statute as coextensive with the Due Process Clause, the long-arm

statute can impose more restrictive limits. Copia Commc'ns, LLC v. AMResorts, L.P., 812 F.3d

1, 4 (1st Cir. 2016). The Court discusses each in turn.

                         1. Long-Arm Statute

       The Massachusetts long-arm statute lists several circumstances that give rise to personal

jurisdiction, including “from the person's . . . transacting any business in this [C]ommonwealth.”

Mass. Gen. Laws ch. 223A, § 3 (“Section 3A”). Section 1 of the statute defines “person” to

include corporations like Indegene Limited. Mass. Gen. Laws ch. 223A, § 1. Courts have

interpreted “transacting any business in this [C]ommonwealth” to indicate that (1) “the defendant


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must have transacted business in Massachusetts” and (2) “the plaintiff’s claim must have arisen

from the transaction of business by the defendant.” Baskin-Robbins, 825 F.3d at 34 n.3 (quoting

Tatro v. Manor Care, Inc., 625 N.E.2d 549, 551 (Mass. 1994)). Courts in this Circuit have

regularly construed this language broadly and thus this Court looks to whether the Defendant

“attempted to participate in the [C]ommonwealth’s economic life.” See Cossart v. United Excel

Corp., 804 F.3d 13, 18 (1 Cir. 2015) (quotation omitted); see also Hahn v. Vermont Law School,

698 F.2d 48, 50 (1st Cir. 1983) (finding that “transacting any business” is not strictly limited to

commercial activity). However, “isolated transactions unaccompanied by ‘purposeful intent’ on

the part of [a] defendant[] and having only a ‘slight effect on the commerce of the

Commonwealth’ are not enough to support jurisdiction” under Section 3A. Sun Life Assurance

Co. of Canada v. Sun Bancorp, Inc., 946 F. Supp. 2d 182, 188 (D. Mass. 2012) (additional

quotations and internal citation omitted); see Roberts v. Legendary Marine Sales, 857 N.E.2d

1089, 1091-92 (2006) (holding that the sale of a single boat by a Florida dealership to a

Massachusetts buyer did not amount to “transacting any business” in Massachusetts because it

was an isolated transaction).

       Plaintiff argues that Defendant transacted business in Massachusetts by “repeatedly

participat[ing] in the Commonwealth’s economic life” through Indegene Inc., Defendant’s

wholly owned domestic subsidiary and non-party to this action. [Dkt. 20 at 16]. According to

Plaintiff, Indegene Inc. “acted as the agent and/or alter ego of [Defendant] with respect to the

Amwell relationship” and in turn, Indegene Limited through this “domestic alter ego” entered

into “a series of three contracts with a Massachusetts company.” [Id. at 11, 17]. However, under

Massachusetts law, there is a presumption of corporate separateness which “may be overcome

only ‘in rare particular situations in order to prevent gross inequity.’” Platten v. HG Berm.



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Exempted Ltd., 437 F.3d 118, 128 (1st Cir. 2006) (quoting My Bread Baking Co. v. Cumberland

Farms, Inc., 233 N.E.2d 748, 752 (Mass. 1968)). While Indegene Inc., headquartered in New

Jersey, is a wholly owned subsidiary of Indegene Limited, it is an “entirely separate and distinct

corporate entity” from Defendant with its own separate “bank accounts, books and records”

generating “its own revenue and working capital.” [Dkt. 11 at 11]. As such, when determining

whether it can disregard corporate form and pierce the corporate veil, this Court must examine a

series of factors in its analysis of the extent of the corporate interrelationship between Indegene

Inc. and Indegene Limited:

       “(1) common ownership; (2) pervasive control; (3) confused intermingling of
       business assets; (4) thin capitalization; (5) nonobservance of corporate
       formalities; (6) absence of corporate records; (7) no payment of dividends; (8)
       insolvency at the time of the litigated transaction; (9) siphoning away of
       corporation's funds by dominant shareholder; (10) nonfunctioning of officers
       and directors; (11) use of the corporation for transactions of the dominant
       shareholders; and (12) use of the corporation in promoting fraud.”
Attorney Gen. v. M.C.K., Inc., 736 N.E.2d 373, 380 n.19 (Mass. 2000) (citing Pepsi-Cola

Metropolitan Bottling Co. v. Checkers, Inc., 754 F.2d 10, 14-16 (1st Cir. 1985)). No one factor

or combination of factors is determinative and there is a very high burden for Plaintiff to meet for

the Court to ignore corporate form. See TechTarget, Inc. v. Spark Design, LLC, 746 F. Supp. 2d

353, 357 (D. Mass. 2010) (a numerical imbalance of the factors is not determinative because the

factors are weighted, not counted); Commonwealth Aluminum Corp. v. Baldwin Corp., 980 F.

Supp. 598, 605 (D. Mass. 1997) (“[P]laintiffs ‘must meet a very high standard’ before they will

be allowed to disregard a corporate form.”); see also United Elec., Radio & Mach. Workers of

Am. v. 163 Pleasant St. Corp., 960 F.2d 1080, 1091 (1st Cir. 1992) (“Under Massachusetts

common law, disregarding the corporate form is permissible only in rare situations.”); Spaneas v.

Travelers Indem. Co., 668 N.E.2d 325, 326 (Mass. 1996) (corporate veil will only be pierced to

prevent gross inequity).

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       In proffering that Indegene Inc. “acted as the agent and/or alter ego of Indegene Limited

with respect to the Amwell relationship,” Plaintiff does not address the twelve factors the Court

must consider in any substantial manner but for a footnote in their responsive brief asserting that

there is overlap between Indegene Inc.’s officers and directors and Defendant’s directors. [Dkt.

20 at 11, 12]. Neither through the complaint nor any of Plaintiff’s affidavits or exhibits do they

provide evidence of Defendant exercising pervasive control over Indegene Inc. or creating

sufficient intermingling that warrants disregard of the doctrine of corporate separateness. Scott

v. NG US 1, Inc., 881 N.E.2d 1125, 1134 (2008). The overlap of employees between Indegene

Inc. and Indegene Limited is not enough to indicate an alter ego relationship between Defendant

and Indegene Inc. that would allow the Court to exercise personal jurisdiction over Defendant.

See Platten, 437 F.3d at 128 (finding that individuals serving “as directors for both a parent and

its subsidiary” can be “expected” and does not necessarily constitute confused intermingling or

pervasive control needed to show an alter ego relationship); Am. Home Assurance Co. v. Sport

Maska, Inc., 808 F. Supp. 67, 73 (D. Mass. 1992) (“That a parent and a subsidiary share common

officers, by itself, is not enough to support the alter-ego theory”); Tassinari v. Salvation Army

Nat’l Corp., 610 F. Supp. 3d 343, 356 (D. Mass. 2022) (“[T]he evidence of overlapping

leadership and common policies does not satisfy the jurisdictional standard without more

evidence of overwhelming control”). Because conclusory allegations of alter ego or agency

relationship are insufficient, Plaintiff has thus failed to make a prima facie showing that indicates

an alter ego relationship exists to permit this Court to overcome corporate form. See Aro Mfg.

Co. v. Automobile Body Research Corp., 352 F.2d 400, 403 (1st Cir. 1965).

       Plaintiff also argues that Defendant entered into three different agreements with Plaintiff

that show sufficient contacts with the forum state to give the Court jurisdiction over Defendant.



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According to Plaintiff, the first of these contracts is a Confidentiality Agreement between

Amwell and Indegene Inc., dated January 30, 2019, four years prior to the signing of the Partner

Agreement. [Dkt. 21 at 5]. This agreement was executed “[i]n connection with a possible

business relationship between the parties.” [Id.]. The Confidentiality Agreement however is not

at issue here. In fact, Plaintiff concedes, and their exhibits show, that Dr. Rajesh Nair signed the

agreement in his capacity as President of Indegene Inc., a non-party to this action, on behalf of

Indegene Inc. alone. [Id. at 7]. Since the Court finds that Plaintiff has not proffered sufficient

evidence of Indegene Inc. being a domestic alter ego of Indegene Limited, the Confidentiality

Agreement between Plaintiff and Indegene Inc., signed well before the Partner agreement at

issue, is irrelevant to the Court’s jurisdictional inquiry.

        Plaintiff also argues that the Partner Agreement and Service Order #1 are two separate

contracts between Plaintiff and the Defendant. [Dkt. 20 at 17]. However, per Plaintiff, Service

Order #1 was “incorporated into the Partner Agreement.” [Id. at 8]. Furthermore, the Partner

Agreement itself states that the agreement “together with the Attachments hereto constitutes the

complete and exclusive agreement between the Parties concerning its subject matter.” [Dkt. 11

at 115]. Clause 14.15 of the agreement pertaining to the aforementioned attachments to the

Partner Agreement includes “Exhibit 1 – Conversa Services and Pricing” otherwise known as

Service Order #1. [Id. at 115, 117]. Therefore, this Court does not find the Partner Agreement

and Service Order #1 to be separate agreements and thus separate contacts between the

Defendant and the Commonwealth. Furthermore, the Court finds that this isolated transaction

between Indegene Limited and the Commonwealth lacks the “purposeful intent” and “effect on

the commerce of the Commonwealth” needed to support jurisdiction under Section 3A.

Accordingly, Plaintiff has not proffered sufficient evidence that Indegene Inc. is an alter ego of



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Indegene Limited nor that the Defendant transacted business in Massachusetts. As such, the

Court cannot exercise personal jurisdiction over Defendant under the Massachusetts long-arm

statute.

                            2. Due Process

           While the Court could end its jurisdictional inquiry here since it must “find sufficient

contacts between the defendant and the forum to “satisfy both [the] state’s long-arm statute and

the Fourteenth Amendment's Due Process clause,” it will nevertheless provide a constitutional

analysis. Sawtelle, 70 F.3d at 1387 (emphasis added); see also Sun Life Assurance Co., 946 F.

Supp. 2d at 190 (“Because there are insufficient contacts between defendants and the forum state

to justify finding personal jurisdiction under the Massachusetts long-arm statute, further

constitutional inquiry is unnecessary.”)

           Even if Plaintiff had satisfied the requirements of the long-arm statute, the Court could

not exercise jurisdiction over the Defendant under the Due Process Clause of the Fourteenth

Amendment. The Due Process Clause requires that the out-of-state defendant over whom

Massachusetts is exercising jurisdiction have sufficient “minimum contacts” with the

Commonwealth “such that the maintenance of the suit does not offend traditional notions of fair

play and substantial justice.” International Shoe Co. v. Washington, 326 U.S. 310, 316 (1945). A

federal court may exercise general or specific jurisdiction over a defendant. See Goodyear

Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011). A court can exercise general

jurisdiction over a defendant when the defendant has engaged in “continuous and systematic

activity” in the forum state, even if the activity in question is unrelated to the suit. United Elec.,

Radio & Mach. Workers, 960 F.2d at 1088. Here, Plaintiff does not argue that Defendant, nor

Indegene Inc. for that matter, is subject to this Court’s general jurisdiction. Indegene Limited is



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not incorporated in the Commonwealth nor were any of their contacts with Massachusetts “so

continuous and systematic as to render [them] essentially at home in the forum State.” AG v.

Bauman, 571 U.S. 117, 138-39 (2014) (internal punctuation and citation omitted). Therefore, the

Court will proceed to the specific jurisdiction analysis.

       In order for a court to exercise specific jurisdiction over a defendant, (1) the claim must

“relate[] to or arise[] out of the defendant’s contacts with the forum”; (2) the contacts must

“constitute purposeful availment of the benefits and protections afforded by the forum’s laws”;

and (3) the exercise of jurisdiction must be reasonable. Phillips Exeter Acad. v. Howard Phillips

Fund, Inc., 196 F.3d 284, 288 (1st Cir. 1999). Satisfying all three prongs is necessary to

establish specific personal jurisdiction. See Motus, LLC v. Cardata Consultants, Inc., 23 F.4th

115, 122 (1st Cir. 2022).

       Defendant does not challenge the relatedness of its contacts in Massachusetts to the case

at hand and instead focuses its arguments on the lack of purposeful availment. [See Dkt. 11 at

17]. Defendant argues that its contacts “are limited to negotiating and signing a contract with a

Massachusetts-based entity,” which does not constitute purposeful availment of the privilege of

conducting activities within the Commonwealth. [Dkt. 11 at 17]. Plaintiff however asserts that

“Indegene Limited and its agent/alter ego entered into three different contractual arrangements

with Massachusetts-based Amwell” and that those arrangements “together contemplated a

Massachusetts company providing software and services to Defendant over a prolonged period

of time.” [Dkt. 20 at 19]. As the Court has already found, Plaintiff does not offer evidence

permitting the Court to conclude that Indegene Inc., which executed the Confidentiality

Agreement, is an alter ego of the Defendant. Additionally, the Court concluded Service Order #1




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is incorporated into the Partner Agreement. As such, the Court focuses on the Partner Agreement

and its attachments in its constitutional analysis of the purposeful availment prong.

          Two key factors in determining purposeful availment are voluntariness and foreseeability.

C.W. Downer & Co., 771 F.3d at 66. Voluntariness turns on whether the contacts are voluntary

rather than being based on the unilateral actions of another party. Vapotherm, 38 F.4th at 261-62

(quoting Adelson, 510 F.3d at 50). This is not an issue here. Foreseeability looks at whether a

defendant’s contacts in the forum state provide notice to “reasonably anticipate being haled into

court there.” Id. (quoting World–Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 297

(1980)). Here, Plaintiff focuses its arguments on the foreseeability factor, arguing that

“continued entrance in the Commonwealth to transact business and build and supplement its

relationship with a Massachusetts company is more than sufficient to find that Defendant

purposely availed itself of the privilege of conducting business in Massachusetts.” [Dkt. 20 at

19-20].

          It is settled in this Circuit that a single agreement alone, such as the Partner Agreement

here, rarely constitutes purposeful availment. See Bond Leather Co. v. Q.T. Shoe Mfg. Co., 764

F.2d 928, 933 (1st Cir. 1985) (“[T]he fact that a nonresident enters into a single commercial

contract with a resident of the forum state is not necessarily sufficient to meet the constitutional

minimum for jurisdiction.”); see also Phillips Exeter Acad., 196 F.3d at 290 (“[T]he mere

existence of a contractual relationship between an out-of-state defendant and an in-state plaintiff

does not suffice, in and of itself, to establish jurisdiction in the plaintiff's home state”); R & B

Splicer Sys., Inc. v. Woodland Indus., Inc., No. 12-11081-GAO, 2013 WL 1222410, at *1 (D.




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Mass. Mar. 26, 2013) (finding no purposeful availment when “[t]he only ‘business’ the defendant

proposed to ‘transact’ in Massachusetts was to send payment” for purchased goods.)

        In some rare cases, this Circuit has applied a “contract plus” approach when only one

contract is at issue and looked to other actions by a defendant that may constitute purposeful

availment such as regular visits to the forum state, payment to the plaintiff in the forum state,

supervising performance of the plaintiff and other communications. See Bond Leather Co., 764

F.2d at 933-34. Plaintiff does not allege that any of Defendant’s employees visited the forum

state in connection to the negotiation of the Partner Agreement. Instead, Plaintiff focuses

specifically on phone calls and other communications throughout and after the formation of the

Partner Agreement between Plaintiff’s executives and Indegene Inc. employees located in New

Jersey. [Dkt. 20 at 8]. However, Indegene Inc. is not a party to this suit and Plaintiff has not, as

previously stated, proffered sufficient evidence that it is Defendant’s alter ego for jurisdictional

purposes. As such, it was not foreseeable that Defendant could be haled to court in

Massachusetts given its isolated contacts with the Commonwealth.

        The last requirement for exercising specific jurisdiction over a defendant is

reasonableness. Vapotherm, 38 F.4th at 262. Since Amwell did not make a prima facia showing

as to purposeful availment, the Court need not reach the reasonableness analysis. See id. at 263;

see also Motus, 23 F.4th at 122 (relatedness, purposeful availment and reasonableness are all

required to establish specific jurisdiction).




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               B. Insufficient Service of Process

       Although the Court finds that it lacks personal jurisdiction over the Defendant, it will

briefly discuss Plaintiff’s insufficient service of process claim.

       Before a federal court can exercise personal jurisdiction over a defendant, proper service

of process must be effectuated. Omni Capital Int’l Ltd. v. Rudolf Wolff & Co., 484 U.S. 97, 104

(1987). Rule 4 sets forth the acceptable methods for service of process. Under Rule 4,

acceptable methods of serving a corporation not within any judicial district of the United States

are the same as any manner prescribed by Rule 4(f) for serving an individual such as “any

internationally agreed means of service that is reasonably calculated to give notice, such as those

authorized by the Hague Convention.” Fed. R. Civ. P. 4(f)(1). Under Massachusetts law, a

foreign defendant may also be served through its domestic alter ego. Nasuni Corp. v. ownCloud

GMBH, 607 F. Supp. 3d 82, 91 (D. Mass. 2022). Plaintiff bears the burden of proving proper

service when a defendant challenges the sufficiency of process under Federal Rule of Civil

Procedure 12(b)(5). Rivera-Lopez, 979 F.2d at 887.

       Plaintiff Amwell purports that service of process was made on Defendant Indegene

Limited in Massachusetts by serving Shaihiem James, a Process Specialist at Corporation

Service Company (“CSC”), who Plaintiff asserts is “designated by law to accept service of

process on behalf of Indegene Limited.” [Dkt. 5 at 2]. Plaintiff argues that serving Indegene

Inc. is sufficient service on the Defendant under Massachusetts law by relying on their argument

that Indegene Inc. is Defendant’s domestic alter ego. [See Dkt. 20 at 10-12]. The Court has




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already concluded otherwise. Consequently, Defendant was not properly served by serving non-

party Indegene Inc. through CSC, Indegene Inc.’s registered Massachusetts agent.

       Nevertheless, Plaintiff also initiated Hague Convention procedures to serve the

Defendant in India and the service request was assembled and mailed to a firm Plaintiff retained

in New Delhi on March 21, 2024. [Dkt. 20 at 10]. The Hague Convention provides means by

which to serve process on a foreign national or corporation such as “service through the Central

Authority of [a] member state[].” Burda Media, Inc. v. Viertel, 417 F.3d 292, 300 (2nd Cir.

2005) (citing Hague Convention arts. 5, 6, 8-10); see also Feliz v. United States, 272 F.R.D. 299,

301-02 (D. Mass. 2011). India has been a signatory to the Hague Convention since 2006.

Tuckerbrook Alt. Invs., LP v. Banerjee, 754 F. Supp. 2d 177, 181 (D. Mass. 2010). While the

Court has not received notice that the Central Authority in New Delhi has served the summons

and complaint yet, “there appears to be a reasonable prospect that the plaintiff will ultimately be

able to serve the defendant properly.” Golub v. Isuzu Motors, 924 F. Supp. 324, 328 (D. Mass.

1996). Indeed, at this point of the process, Plaintiff has been diligent in going through the

necessary steps within its control to properly effect service in India and the Hague Service

Request was delivered to the Central Authority in New Delhi. [Dkt. 20 at 10]; see Balintulo v.

Daimler AG (In re S. African Apartheid Litig.), 643 F. Supp. 2d 423, 433 (S.D.N.Y. 2009)

(“Once documents have been properly transmitted to a Hague Convention Central Authority . . .

‘the timing of service is out of a plaintiff's control.’”). As such, it would be within the discretion

of a Court with jurisdiction to either dismiss Defendant’s 12(b)(5) motion without prejudice or to

extend the time period to effect service through the Hague proceedings. See United States v.

Tobins, 483 F. Supp. 2d 68, 77 (D. Mass. 2007). Since Plaintiff has initiated the process to serve




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Defendant in India and there is a reasonable prospect of service, the Court declines to dismiss the

case on insufficient service of process grounds.

               C. Transfer and Jurisdictional Discovery

       Where a court cannot exercise personal jurisdiction, federal law permits it to transfer a

case if it is in the interest of justice to any other such court in which the action could have been

brought at the time it was filed. 28 U.S.C. § 1631; see Fed. Home Loan Bank. of Bos. v.

Moody’s Corp., 821 F.3d 102, 119 (1st Cir. 2016) (holding that Section 1631 authorizes transfer

where the transferring court lacks personal jurisdiction), abrogated on other grounds, Lightfoot v.

Cendant Mortg. Corp., 580 U.S. 82 (2017). While Section 1631 creates a presumption in favor

of transfer should the transfer cure a want of jurisdiction, a plaintiff has the burden of showing

jurisdiction exists in the transferee court. Jonson v. FDIC, 877 F.3d 52, 58 (1st Cir. 2017);

Plaintiff has failed to do so here. In making a request for a transfer to New Jersey, Plaintiff relies

almost entirely on the alter ego theory, a theory that this Court rejects. [Dkt. 20 at 18]. The only

relevant evidence Plaintiff offers is that “[t]he Partner Agreement was negotiated on behalf of

Indegene [Limited] by Arindam De and executed by Nitin Raizada, both of whom are located []

in New Jersey.” [Dkt. 20 at 22]. However, these contacts do not give rise to sufficient “minimal

contacts” to establish personal jurisdiction over the Defendant. As such, Plaintiff’s request to

transfer to New Jersey is denied. See Grynberg v. Ivanhoe Energy, Inc., 490 F. App'x 86, 109

(10th Cir. 2012) (affirming a district’s court’s denial of Plaintiff's motion to transfer because

Plaintiff did not make a showing of personal jurisdiction in the transferee District Court).

       Plaintiff in their opposition to Defendant’s motion to dismiss also requested that the

Court allow jurisdictional discovery for “additional evidence concerning Indegene Inc.’s

involvement in executing and performing under the Partner Agreement and Service Order”



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should the Court find that it lacks personal jurisdiction. [Dkt. 20 at 21]. While this Court has

“broad discretion” to determine whether jurisdictional discovery is warranted, the mere mention

of jurisdictional discovery is insufficient to meet Plaintiff’s burden. United States v. Swiss Am.

Bank, Ltd., 274 F.3d 610, 626 (1st Circ. 2001). When seeking jurisdictional discovery, Plaintiff

has the burden of making “a colorable claim for jurisdiction” and “present facts to the court

which show why jurisdiction would be found if discovery were permitted.” Id. at 625-26, 627;

see also Motus, 23 F.4th at 128 (affirming denial of jurisdictional discovery because plaintiff

failed “to explain why jurisdictional discovery was appropriate and what relevant information it

hoped to glean through such discovery”). Not only did Plaintiff not explain what specific

documents it is seeking, but it did not explain what information it intends to obtain from the

limited jurisdictional discovery. (“Amwell requests that it be allowed to conduct limited

jurisdictional discovery.”) [Dkt. 20 at17]. Accordingly, since Plaintiff has not made any

colorable claim, jurisdictional discovery is unwarranted.

       IV.     Conclusion

       For the foregoing reasons, Defendant’s Motion to Dismiss [Dkt. 10] is GRANTED and

the case is DISMISSED.

       SO ORDERED.

Dated: December 18, 2024                                     /s/ Angel Kelley
                                                             Hon. Angel Kelley
                                                             United States District Judge




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